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                           UNITED STATES DISTRICT COURT
                                                        for the
                                                District of Minnesota

United States of America,
                                           Plaintiff,

v.                                                                Case No. 0:21−cr−00057−PAM−HB(Dft 8)

Omar Ali Osman,

                                           Defendant.

                                                 ARREST WARRANT

To: Any authorized law enforcement officer

     YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay

(name of person to be arrested)       Omar Ali Osman ,

who is accused of an offense or violation based on the following document filed with the court: ( ) Order of Court
( ) Indictment ( ) Superseding Indictment ( ) Information           ( ) Superseding Information       ( ) Complaint
( ) Probation Violation Petition ( ) Supervised Release Violation Petition        ( X ) Pretrial Violation Petition



This offense is briefly described as follows:
Violation of Pretrial Release


Date:                 December 10, 2021
                                                                        Kate M. Fogarty, Clerk of Court

City and state:    Minneapolis, MN
                                                                             Printed name and title

                                                        Return

     This warrant was received on (date)                   , and the person was arrested on (date)

at (city and state)                                                           .


Date:
                                                                          Arresting officer's signature



                                                                            Printed name and title
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                       This second page contains personal identifiers provided for law−enforcement use only
                       and therefore should not be filed in court with the executed warrant unless under seal.

                                                    (Not for Public Disclosure)

Name of defendant/offender:       Omar Ali Osman
Known aliases:
Last known residence:
Prior addresses to which defendant/offender may stll have ties:


Last known employment:
Last known telephone numbers:
Place of birth:
Date of birth:
Social Security number:
Height:                                                                Weight:
Sex:                                                                     Race:
Hair:                                                                     Eyes:
Scar, tattoos, other distinguishing marks:




History of violence, weapons, drug use:


Known family, friends, and other associates (name, relation, address, phone number):


FBI number:
Complete description of auto:


Investigative agency and address:


Name and telephone numbers (office and cell) of pretrial services or probation officer (if applicable):




Date of last contact with pretrial services or probation officer (if applicable):
